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3. Calculate Total Adjusted Benchmark Shrimp Revenue by multiplying the
Additional Catch Adjusted Benchmark Shrimp Revenue by 1.2, the
Adjustment for Changes in 2010-11 Prices.

Total Adjusted Benchmark Shrimp Revenue = (Additional Catch Adjusted Benchmark Shrimp
Revenue * Adjustment for Changes in 2010-11 Prices).

4, If Gi) the Claimant is a Vessel Owner/Commercial . Fisherman Vessel
Lessee or (ii) the Claitnant is a Boat Captain and Benchmark Revenue was
calculated using trip tickets or their equivalents, calculate Benchmark
Shrimp Cost. Benchmark: Shrimp Cost is calculated by multiplying
Benchmark Shrimp Revenue by the Shrimp Cost Percentage. The Shrimp
Cost Percentage, presented in Table 12, is expressed as a percentage of
revenue and reflects standard industry non-labor variable costs. If the
Claimant is a Boat Captain and Benchmark Revenue was calculated based
upon his earnings, such as from tax return or financial information, then
no Shrimp Cost Percentage is applied, skip to step 5.

Benchmark Shrimp Cost = (Benchmark Shrimp Revenue * Shrimp Cost Percentage)

TABLE 12
VESSELSIZE SHRIMP COST
, . PERCENTAGE
<30 feet 42%
30-44 feet _ 39%
45-74 feet Ice 39%
45-74 feet Freezer. L 42%
75+ feet Ice ep 54%
75+ feet Freezer _ . _ 32%
5. Calculate the Base Shrimp Loss using the Shrimp Loss Percentage of
35%,
a. If (i) the Claimant is a Vessel Owner/Commercial Fisherman

Vessel Lessee or (ii) the Claimant is a Boat Captain and Total
Adjusted Benchmark Shrimp Revenue was calculated using trip
tickets or their equivalents, the Base Loss is calculated as follows:

Base Shrimp Loss = (Total Adjusted Benchmark Shrimp Revenue — Benchmark Shrimp
Cost) * 35%

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